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                                THE



 REVISED STATUTES
                                   OF




               T E X A S:
                                ADOPTED




        BY THE REGULAR SESSION

                                OF THE




SIXTEENTH LEGISLATURE,

                        A. D. 4879.



         PUBLISHED BY AUTHORITY OF THE STATE OF TEXAS.
                  (PURSUANT TO CHAPTrER 151, ACTS I89.)




                         GALVESTON:



                                                          21
                A. H. BELO & CO., STATE PRINTERS.
                              1879.
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     42               TITLE ix.-OFFENSES AGAINST PUBLIC PEACE.-Cu. 3,4.
                     who continue so unlawfully assembled, or engaged in a riot, after being
                     warned to disperse, shall be punished by the addition of one-half the
                      :pnalty to which they would otherwise be liable, if no such warning had
                       en given.



                                                    CHAPTER                 TIIREE.
                                AFFRAYS AND D)ISTlTRlAN('ES OF TIlE PEACE.                                              Arice
                                                                   A
                                                                   "i'h



                     "Affray" defined ........................      n.1 looting in public place...............            316
                     Disturbance of the peace ...............      31 llorse-racng on public road or street..       .      17
                     "Public place" defined .................      315

     "Affray" de-       ARTICI.E.       313.      If any two or more persons shall fight together in a pub-
        P.c. 38.   lie place, they shall be punished by fine not exceeding one hundred dollars.
    Disturbance of    ART. 314.    If any person shall go into any public place, or into or near
    the peace.     any private house, or along any public street or highway near any private
    (At June 20,
          p.2.)
        iK.        house, and shall use loud and vociferous or obscene, vulgar or indecent
        P.C. 382.  language, or swear, or curse, or expose his Person, or rudely display any
                   pistol or other deadly weal)on       i such plblic ))lace, or upon such public
                   street or highway, or near such private house, in a manner calculated to
                   disturb the inhabitants thereof, lie shall be fined in a suln not exceeding
                   one hundred dollars.
    "Public place"    Atr. 315. A public place within the nmcaning of the two preceding
    defined.
        P.C. 3     articles, is any public road, street or alley, of a town or city, inn, tavern,
                   store, grocery, work-shop, or any place to which ju'opl,' commonly resort
                   for purposes of business, recreation or anilsenient.
    Shooting   in
     pblic place.     ARTr. 316. If any person shall discharge any gi, n, pistol, or fire-arms of
    fAet Nov. i2.  any description, on or across any public square, street or alley in any city,
    18m, p. 210.)  town or village in this state, he shall be filled in a sum not exceeding one
                   hundred dollars.
    Horse-racing      ART. 317.    Any person who shall run, or be in any way concerned in
    on public road
    or street.     running any horse race in, along, or across any public square, street or
    tAct Alay 19,  alley in any city, town or village, or in, along or across any public road
    A73, pp. 834.)within this state, shall be fined in a, sum not less
                                                                            than twenty-five nor
                     more than one hundred dollars.



                                                       CHAPTER                FOUR.
                                              UNLAWFULLY CARRYING ARMS.
                                                                  Artdel                                                Ark

                     Unlawfully carrying arms ...............      318 Arrest without warrant .....................
                     Not applicable, when and to whom ......       311 officer failing to arrest, punishable .........
                     Carrying arms in church or other assembly. 302 Not applicable to frontier counties ..........
                     Not applicable, to whom .................. ..    i                               u

    Unlawfully        ARTICLE 318. If any person in this state shall carry on or about his
    carrying arms.
    (Act Apri 2,   Person, saddle, or in his saddle-bags, any pistol, dirk, dagger, slung-shot,
    1871, p. 25.)  sword-cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
                   manufactured or sold for purposes of offense or defense, lie shall be pun-
                   ished by fine of not less than twenty-five nor more than one hundred
                   dollars; and, in addition thereto, shall forfeit to the county in which he
                   is convicted, the weapon or weapons so carried.
    Not applicable    AirT. 3 9. The preceding article slall not apply to a person in actual
    when
    whom.and to    service asa militianIan,
                                mltaaofcr   nor to a peace officer or Policeman,
                                                                      plci~n     or person sum-
     Act April 12, moned to hi1 aid, nor to a revenue or other civil officer engaged in the
    AV' P. 2')     discharge of official duty, nor to the carrying of arms on one's own prem-
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   TITLE Ix.-OFFENSES AGAINST PUBLIC PEACE.-CH. 4.                                                 43
 ises or place of business, nor to persons traveling, nor to one who has.
 reasonable ground for fearing an unlawful attack upon his person, and the
 danger is so imminent and threatening as not to admit of the arrest of
 the party about to make such attack, upon legal process.
    ART. 320. If any person shall go into any church or religious   assem- Carying armU
 bly, any school room, or other place where    persons are assembled for othersemhly
 amusement or for educational  . . . or
                                      . scientific
                                          .        . purposes, or into any circus, (Act  April
                                                                                   1871, p. 25.) 12,
 show, or public exhibition of any kind, or into a ball-room, social party,
 or social gathering, or to any election precinct on the day or days of any
 election, where any portion of the people of this state are collected to vote
 at any election, or to any other place where people may be assembled to
 muster, or to perform any other public duty, or to any other public assem-
 bly, and shall have or carry about his person a pistol or other fire-arm,
 dirk, dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife,
 or any other kind of a knife manufactured and sold for the purposes of
 offense and defense, he shall be punished by fine not less than fifty nor
 nmore than five hundred dollars, and shall forfeit to the county the weapon
 or weapons so found on his person.
   ART. 321. The preceding article shall not apply to peace   ~to officers, or Notwho.
                                                                                    applicable
                                         n
 other persons authorized or permitted by law to carry arms at the places (Act April 12,
 therein designated.                                                     V,71, p. 25.)
   ART. 322. Any person violating any of tile provisions of articles 318 Arrest without
 and 320, may be arrested without warrant by any peace officer, and car- warrant.
                                                                                Officer failing
  -ied before the nearest justice of the peace for trial; and any peace officer punished.
                                                                                (Act April 12,
 who shall fail or refuse to arrest such person on his own knowledge, or s71, p. 20.)
 upon information from some credible person, shall be punished by fine not
 exceeding five hundred dollars.
    ART. 323. The provisions of this chapter shall not apply to or be Notrapplicable
 enforced in any county w "ichthe governor may designate, l)y proclama- counties.
 tion, as a frontier county and liable to incursions by hostile Indians.        (Act April 12,
                                                                                1871, p. 26.)
